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|N THE UN|TED STATES DFSTR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN DiVlS|ON

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UN|TED STATES OF AMER|CA, * C{EM§§§§TQ;%
\HD G‘~“ ! Hé§RAPt-HS
P|aintiff, *
Crim. No. 04-20081~|\/|| V
v. *
B|LLY THOMAS PH|LL|PS, *
Defendant. *

 

ORDER VACAT|NG PREL|M|NARY ORDER OF FORFE|TURE

 

Upon motion of the United States, the Pre|iminary Order of Forfeiture entered in the

above-styled case on August 29, 2005 is VACATED.

lT ls so oRnERED, thieA day of QSQQT

w umw

P. McCALLA
ited States District Judge

Approved:

LAWRENCE J. LAURENZF
Acting United States Attorney

/W@ /)W

Wistopher E. CSm{en
Assistant United States Attorney

Th|s document entered on the decketéh et In cempllance
WLth Ru|e 35 and/or 32(b) FHCrP on 2210 5

, 2005.

 

DISTRIC COURT - WE"RNTE D's'TRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 137 in
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Honorable .1 on McCalla
US DISTRICT COURT

